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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT
SAIFULLAH KHAN,
     Plaintiff,                                          cv    /   '1 - / 9fe{p
v.

YALE UNIVERSITY,
PETER SALOVEY,
JONATHON HALLOWAY,
MARVIN CHUN, JOE GORDON,
DAVID POST, MARK SOLOMON,
PAUL GENECIN,
STEPHANIE SPANGLER,
SARAH DEMERS, JANE DOE
CAROLE GOLDBERG,
UNKNOWN PERSONS,
     Defendants.                                        DECEMBER 13, 2019

 MOTION FOR PERMISSION TO LITIGATE CLAIMS AGAINST JANE DOE USING A
             PSEUDONYM IN PLACE OF HER ACTUAL NAME

       The Plaintiff, Mr. Khan, brings the instant action before the Court for an abuse of

his rights under Title IX, broken promises that resulted in a heinous breach of contract

against him, and fabricated allegations of false conduct against the Plaintiff.

Notwithstanding the heinous falsities that the Jane Doe Defendant brought against Mr.

Khan, Mr. Khan hereby moves the Court to grant him permission to litigate his pendent

state law claims against Jane Doe using a pseudonym in place of her actual name

because he holds out hope that he may move on with his life and complete his

undergraduate degree at Yale University - either by permission of Yale University (also

a defendant in the instant action) or by virtue of injunctive relief from the Court. In that

hope and despite the many egregious wrongs committed against him, Mr. Khan seeks

the Court's commission to pursue the vindication of his legal rights while complying with

his obligations under Yale University's University-Wide Committee On Sexual
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Misconduct's (hereinafter, the "UWC") procedures on sexual misconduct, which require

him to maintain the confidentiality of UWC proceedings and information obtained for those

proceedings, including the name of his accuser.

                                      Relevant Facts

        On Halloween, 2015, Mr. Khan and Jane Doe had consensual sexual relations.

See Compl. at     mr 39-43. The next morning, Jane Doe belatedly decided that having
consensual sexual relations with Mr. Khan was a bad decision so she concocted a story

for her friends, claiming that she had been raped; however, she told the Yale University

Health Center worker who provided her with contraception that she had engaged in

consensual, unprotected sex. Id. at 11 45. With the advice and counsel of the Defendants

in this action, Jane Doe filed a formal complaint against Mr. Khan with the Yale University

police department, which immediately began investigating Mr. Khan for rape. Id. at        1m
46-48. The State of Connecticut subsequently charged Mr. Khan with sexual assault in

the first degree. Id. at 11 48.

       During Mr. Khan's trial, the identity of his accuser, Jane Doe, was kept from the

public record by Conn. Gen. Stat. § 54-86e. After a two-week jury trial in early 2018, the

jury quickly returned a verdict acquitting Mr. Khan of all charges against him. Id. at 11 52.

Through the efforts of his defense counsel, Mr. Khan succeeded in having his UWC

disciplinary hearing delayed until after his criminal trial. Id. at   11   51. Mr. Khan was

subsequently readmitted to Yale University in the fall of 2018, but he was denied on-

campus housing.ld. at 11 57. At this time, Yale University made no effort to move forward

with his UWC disciplinary hearing, and Jane Doe had already graduated.ld. at      n 57,68.
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           In November 2018, Yale University convened a UWC hearing on Jane Doe's

complaint - the same one that had resulted in the criminal charges against Mr. Khan.       'd.
at   1m 74.   Jane Doe testified at that hearing, peddling the same concocted falsities that

she had levelled against Mr. Khan in the criminal trial. 'd. at 1m 74·81. The only difference

was that Mr. Khan could not cross-examine her or confront his accuser in any manner.

'd. at ,    77. Yale university ultimately decided to expel Mr. Khan.   'd. at 11 80.
           On its website, Yale University publicizes a set of policies and procedures for UWC

proceedings. The policies and procedures unequivocally pronounce "[t]he UWC and all

members of the Yale community who are involved in a matter before the UWC are

expected to maintain the confidentiality of its proceedings and the information obtained

for those proceedings." See Exhibit A - UWC Procedures, p. 3. Yale University has

elaborated on this provision through a formal policy statement made by its provost.     'd. at
3.

        The purpose of confidentiality is to encourage parties and witnesses to
        participate in UWC proceedings and share all the pertinent information they
        have to offer, which is essential to reaching a fair outcome. If parties or
        witnesses fear that their participation or testimony in a UWC proceeding
        could be revealed, then concerns about reputation, social tension, or
        retaliation may cause them to keep silent. Every member of the University
        community should recognize that breaches of confidentiality hurt the
        participants and have the potential to erode respect for the UWC process.

See Exhibit B - Statement on Confidentiality of UWC Proceedings, p. 1.

                                          ARGUMENT

        Mr. Khan is no longer a member of the Yale University community due to

his expUlsion so the obligation to keep the UWC information confidential would not

apply to him under ordinary circumstances. Exhibit A, p. 3. However, if Mr. Khan

rejoins the Yale University as he seeks to do via a negotiated return with Yale
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    University or an injunction from the Court, this provision would apply to him.

Consequently, to preserve his interest in rejoining the Yale University community

to complete his undergraduate education, Mr. Khan respectfully requests the Court

to allow him to proceed in his defamation and tortious interference claims by

naming Jane Doe under a pseudonym.

          Fed. R. Civ. P. 10(1) mandates that "[t]he title of [a] complaint must name

all the parties." "This requirement, though seemingly pedestrian, serves the vital

purpose of facilitating public scrutiny of judicial proceedings and therefore cannot

be set aside lightly." Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 188-89

(2d. Cir. 2008).1 However, courts have "carved out a limited number of exceptions

to the general requirement of disclosure .... " Id. at 189 (quoting Roe                  v. Aware
Woman Ctr. For Choice, Inc., 253 F.3d 678, 685 (11th Cir. 2001). These exceptions

have typically arisen in cases involving sensitive and intimate issues such as

abortion decisions, e.g., Roe v. Aware Woman Center for Choice, Inc., 253 F.3d

678 (11th Cir. 2001), or cases involving minors, e.g., Smith v. Edwards, 175 F.3d

99 (2d. Cir. 1999).

          In the Sealed Plaintiff case, the Second Circuit established ten non-

exclusive factors, discussed in turn below, to determine whether the Court should

grant a party's request to persuade under a pseudonym. Id. at 189-90. While these

factors have traditionally been applied to parties seeking to protect their own

identities by use of a pseudonym, these factors are also readily adaptable to a




1  To the best of counsel's knowledge after research, this case is still sealed. Consequently, counsel has
provided the Court with a copy of the Second Circuit's decision to save the Court any difficulty in locating
it. See Exhibit C - Sealed Plaintiffv. Sealed Defendant, 537 F.3d 185 (2d. Cir. 2008).
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request to allow Mr. Khan to proceed, at least initially until Jane Doe has a chance

to take a position, by naming her by a pseudonym.

       The first factor weighs "whether the litigation involves matters that are

'highly sensitive and [of a] personal nature.'" Id. at 190 (quoting M.M. v. Zavaras,

139 F.3d 798, 803 (10th Cir. 1998). The instant case involves matters of a highly

sensitive and personal nature, both to Mr. Khan and Jane Doe. As stated above,

Jane Doe accused Mr. Khan of raping her. "[A]lIegations of sexual harassment and

misconduct" raises issues and questions "that are of a highly sensitive and

personal nature." A.B. v. C.D., 2018 WL 1935999, at *2. Therefore, the first factor

weighs in Mr. Khan's favor.

       The second factor examines "whether identification poses a risk of

retaliatory physical or mental harm to the.. . party (seeking to proceed

anonymously] or even more critically, to innocent non-parties." Sealed Plaintiff, 537

F.3d at 190 (quoting Zavaras, 139 F.3d at 803). As stated above, Jane Doe was

protected by Conn. Gen. Stat. § 54-86e, which prevented the publication of her

name during Mr. Khan's criminal trial. Consequently, for the purposes of Mr.

Khan's UWC process, his conduct of his criminal trial did not violate the UWC

procedures. If Mr. Khan names Jane Doe in this action, he will suffer the risk of

retaliatory physical or mental harm, namely, the loss of any chance to successfully

negotiate his return to Yale University to complete his undergraduate studies and

the jeopardization of his opportunity to obtain injunctive relief from the Court to

allow him to complete his undergraduate studies. Therefore, Mr. Khan seeks to
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respect the UWC confidentiality rules by seeking to proceed against Jane Doe

pseudonymously. Thus, the second factor weighs in Mr. Khan's favor.

        The third factor examines "whether identification presents other harms and

the likely severity of those harms ... , including whether 'the injury litigated against

would be incurred as a result of the disclosure of the plaintiffs identity.'" Id. at 190

(quoting Zavaras, 139 F.3d at 803). At first glance, the injury incurred by Mr. Khan

has already occurred. However, Mr. Khan does face the significant likelihood of

further antagonizing Yale University to the point of placing his chances of

negotiating a return to Yale University to complete his undergraduate degree by

naming Jane Doe in violation of the UWC hearing. Furthermore, if Mr. Khan does

name Jane Doe, Yale University will undoubtedly use that fact against him to

illustrate its version that Mr. Khan "breaks" Yale University polices in opposing Mr.

Khan's request for injunctive relief. Consequently, the third factor weighs in favor

of Mr. Khan.

       Mr. Khan concedes that the fourth factor weighs against him in that he is

not "particularly vulnerable to the possible harms of disclosure ... , particularly in

light of his age." Id. at 190.

       The fifth factor weighs in favor of Mr. Khan: "whether the suit is challenging

the actions of the government or that or private parties.'" Id. at 190. Normally, suits

against private parties do not enjoy a stronger presumption of a need to protect a

party's privacy because personal embarrassment is the only consideration for

keeping them private. A.B.       v.   C.D., 2018 WL 1935999, at *3. However, when a

party sues the government and seeks to serve as "a significant check on abuse of
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public power," "it is in the public interest that the price of access to the courts not

be too high." Doe v. Del Rio, 241 F.R.D. 154, 158 (S.D.N.Y. 2006). "Where litigants

risk public scorn or even retaliation if their identities are made public, unpopular

but valid complaints may not be pursued." Id. at 158 (citing Doe v. Stegall, 653

F.2d 180, 185 (5 th Cir. 1981). "The value of open proceedings disappears when

there are no proceedings to be had." Id. at 158. The reasoning underlying this

presumptive balancing factor is the power disparity between the government, the

public at large, and potential plaintiffs. The same reasoning applies here. Yale

University enjoys tremendous social power, and it can have a tremendous impact

on a person's life as Mr. Khan can readily attest to. If Mr. Khan names Jane Doe,

the potential for Yale to retaliate against him in negotiations about his potential

readmission to Yale to complete his degree and to whip up public scorn against

him would be similar to that of a government trying to accomplish the same goals

against a plaintiff. Consequently, while Mr. Khan does not presumptively enjoy the

benefit of this factor, he should be given its protections for the same reasons

undergirding it.

       The sixth and seventh factors also weigh in Mr. Khan's favor. The sixth

factor weighs "whether the defendant is prejudiced by aI/owing the plaintiff to press

his claims anonymously, whether the nature of that prejudice (if any) differs at any

particular stage of the litigation, and whether any prejudice can be mitigated by the

district court." Sealed Plaintiff, 537 F.3d at 190. The seventh factor examines

"whether the [defendant]'s identity has thus far been kept confidential." Id. at 190.

Jane Doe's identity has been kept confidential for more than three years now. Her
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identity was kept confidential by Conn. Gen. Stat. § 54-86e in Mr. Khan's criminal

trial. Yale University's UWC policies and procedures kept her identity confidential

in Mr. Khan's UWC proceeding. If anyone has suffered prejudice in this concocted

saga, it is Mr. Khan, who was publicly and privately pilloried on the basis of Jane

Doe's false accusations without ever being allowed to name her as his accuser

when defending himself. Every single proceeding that has involved Jane Doe and

Mr. Khan to this point has kept Jane Doe's identity confidential to protect her from

a similar public pillorying. Consequently, as Mr. Khan seeks to put his life back

together by complying with rules that Jane Doe has gladly embraced to protect

herself, it will not prejudice Jane Doe in the slightest to continue to protect her from

public scrutiny. Therefore, both the sixth and seventh factors weigh in Mr. Khan's

favor.

         Similar to the sixth and seventh factors, the eighth and ninth factors are

linked, and Mr. Khan concedes that both do not weigh in his favor. The eighth

factor examines "whether the public's interest in the litigation is furthered by

requiring the plaintiff to disclose [the defendant's] identity." Id. at 190. The ninth

factor addresses "whether, because of the purely legal nature of the issues

presented or otherwise, there is an atypically weak public interest in knowing the

litigants' identities." Id. at 190. Addressing the ninth factor first, Mr. Khan was

acquitted in a highly publicized trial that was covered with no small vigor by the

press from charging to verdict and that invoked widespread reaction at the height

of the #MeToo movement. The media including the Yale Daily News insisted on

publicizing and discussing the case long after the jury had delivered Mr. Khan's
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acquittal. As soon as the instant action is filed, it will garner intense public scrutiny,

which will widely publicize Jane Doe's name. Therefore, under no circumstances

can Mr. Khan or counsel anticipate an atypically weak public interest in learning

the parties' identities. Turning to the eighth factor, the public's interest will

undoubtedly be aided tremendously if Mr. Khan is forced to disclose Jane Doe's

identity. Both of these factors weigh against Mr. Khan.

       The tenth and final factor examines "whether there are any alternative

mechanisms for protecting Plaintiffs [interest in] confidentiality." Id. at 190. There

are none. Mr. Khan's sole interest in confidentiality is to preserve the hope of some

sort of negotiated or enjoined solution in the instant case where he can complete

his undergraduate degree and get on with his life. If he is forced to name Jane

Doe, Mr. Khan will be forced to choose between Scylla and Charybdis. If he

chooses to continue with his claims against Jane Doe for the wrongs that she has

committed against him, Mr. Khan will lose any chance for a negotiated return to

Yale University because Yale University will never forgive him for violating the

UWC policies and procedures and he will incur significant prejudice when it comes

to obtaining injunctive relief from the Court to allow him to finish his degree. If he

chooses to discontinue his claims. Mr. Khan mayor may not succeed in negotiating

a return to Yale University to complete his degree. However, he will certainly forfeit

forever the opportunity to seek legal redress for the wrongs Jane Doe has

committed against him. Consequently, the tenth factor weighs in Mr. Khan's favor.
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                                  CONCLUSION

       Mr. Khan still holds out hope, albeit small hope, that he can piece his life

back together by completing his degree at Yale University, either through a

negotiated agreement with Yale University or by injunctive relief from the Court. At

the same time, Jane Doe has destroyed Mr. Khan's life through her false

accusations against him. Consequently, Mr. Khan seeks the Court's commission

to pursue the vindication of his legal rights while complying with his obligations

under Yale University's University-Wide Committee On Sexual Misconduct's

(hereinafter, the "UWC") procedures on sexual misconduct, which require him to

maintain the confidentiality of UWC proceedings and information obtained for

those proceedings, including the name of his accuser.

      Therefore, for the foregoing reasons, Mr. Khan respectfully requests that

the Court grant his motion to proceed against Jane Doe by identifying her with a

pseudonym.

                                                The Plaintiff




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                                     CERTIFICATION

       I hereby certify that on September 23, 2019 a copy of the foregoing was filed

electronically. Notice of this filing was sent bye-mail to all parties by operation of the

Court's electronic filing system. Parties may access this filing through the Court's system.



                                                 B


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